                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

AMY DIVINE; KARL MERCHANT; and
COLUMBUS JONES, on behalf of themselves
and all others similarly situated,                                                    PLAINTIFFS


v.                                                    CIVIL ACTION NO. 1:23cv196-HSO-BWR

SECURIX, LLC                                                                         DEFENDANT

                        DECLARATION OF BRIAN K. HERRINGTON

        I, Brian K. Herrington, declare as follows:

        1.      I make this declaration based on personal knowledge. If called as a witness, I

would testify competently about the matters stated herein.

        2.      I am a partner in the firm of Chhabra Gibbs & Herrington PLLC, and I represent

Plaintiffs in this putative class action.

        3.      On August 15, 2023, I conducted a business entity search for Defendant on the

Delaware Department of State’s website. The search brought up a screen titled, “Entity Details”

that contained some information about Defendant, but it did not list Defendant’s members or

their states of citizenship. The Entity Details page for Defendant is attached to Plaintiffs’

Response as Exhibit 4.

        4.      On August 15, 2023, I spoke via chat with a representative of the Delaware

Department of State. The representative informed me that Defendant’s Certificate of Formation

does not list Defendant’s members or their states of citizenship and that LLC formation

documents only require information about the registered agent. I followed up the chat with a call

to the Delaware Department of State. The representative confirmed the information I had been

given in the chat session and further informed me that the Department of State maintains no


                                                  1

                                            EXHIBIT 3
other documents that would contain the names of Defendant’s members or their states of

citizenship.

       5.      On August 15, 2023, I conducted a business entity search and a registered agent

search on the Georgia Secretary of State’s website and found no documents concerning the

names of Defendant’s members or their states of citizenship.

       6.      I am not aware of any publicly available documents that contain the names of

Defendant’s members or their states of citizenship. I believe discovery is the only way for

Plaintiffs to ascertain this information.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

       Executed this 16th day of August 2023, at Jackson, Mississippi.

                                             s/ Brian K. Herrington
                                             Brian K. Herrington




                                                 2
